Case 6:23-cv-00581-RMN     Document 50-1     Filed 06/10/24   Page 1 of 13 PageID 1317




       DECLARATION OF LANCE FRIEDMAN IN OPPOSITION TO
         PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

       I, Lance Friedman, declare and state as follows:

       1.      My name is Lance Friedman, I am over the age of 18, and I have

 personal knowledge of the matters contained herein.

       2.      I am a Defendant in the federal lawsuit in which this Declaration has

 been filed.

       3.      I submit this Declaration in opposition to Plaintiff’s Motion for

 Summary Judgment filed on October 2, 2023.

       4.      I have previously worked for investment firms and run investment

 banking departments for various broker-dealers and firms.

       5.      I go into troubled companies and take them through reorganization,

 help them raise capital, and try to resurrect their business plan.

       6.      I am currently a Manager of EMERGE HEALTHCARE GROUP, LLC

 (“EMERGE”).

       7.      I am currently the CEO of FCID MEDICAL, INC. (“FCID”).

       8.      I am currently a Manager of FIRST CHOICE MEDICAL GROUP OF

 BREVARD, LLC (“FCMG”).

       9.      I am currently the CEO of FIRST CHOICE HEALTHCARE

 SOLUTIONS, INC. (“FCHS”).

       10.     I am not a shareholder of EMERGE, FCID, FCMG, or FCHS.
Case 6:23-cv-00581-RMN    Document 50-1       Filed 06/10/24   Page 2 of 13 PageID 1318




       11.   I am not compensated by EMERGE, FCID, FCMG, or FCHS. I have

 made loans to some of these companies and have received repayment on some of

 those loans. However, I am currently owed approximately $800,000.

       12.   FCHS is a holding company for FIRST CHOICE MEDICAL GROUP

 OF BREVARD, INC. (“FCMG”) and FCID MEDICAL, INC. (“FCID”). FCHS wholly

 owns FCID; FCID wholly owns FCMG.

       13.   Most assets are held by FCID; certain assets are held by FCMG; and

 one or two assets may be held by FCHS.

       14.   Employees were split between FCMG and FCID.

       15.   FIRST CHOICE HEALTHCARE SOLUTIONS, INC. (“FCHS”), FIRST

 CHOICE MEDICAL GROUP OF BREVARD, INC. (“FCMG”), and FCID MEDICAL,

 INC. (“FCID”) each filed for Chapter 11 bankruptcy in 2020. The bankruptcy cases,

 along with the bankruptcy case for non-party Marina Towers, LLC, were jointly

 administered for procedural purposes only under Case No. 6:20-bk-3355-LVV. A

 true and correct copy of the Order Authorizing Joint Administration Pursuant to

 Bankruptcy Rule 1015 and Local Rule 1015 entered in Case No. 6:20-bk-3355-LVV

 is attached hereto and incorporated herein as Exhibit “A.”

       16.   The bankruptcy plan was confirmed in February 2021, and FCHS’

 bankruptcy case and the jointly administered bankruptcy cases for FCMG, FCID,

 and non-party Marina Towers, LLC were closed on April 27, 2022. A true and

 correct copy of the Final Decree entered in Case No. 6:20-bk-3355 is attached

 hereto and incorporated herein as Exhibit “B.”

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Case 6:23-cv-00581-RMN        Document 50-1       Filed 06/10/24   Page 3 of 13 PageID 1319




       17.    I was not involved in EMERGE, FCID, FCMG, or FCHS at the time the

 bankruptcy was filed. I helped get through the reorganization after the bankruptcy

 case was filed.

       18.    The facts underlying Plaintiff’s lawsuit took place post-exit approval

 of the plan in April 2022.

       19.    I do not control the operations of EMERGE, FCID, FCMG, or FCHS.

       20.    I do not make decisions on day-to-day matters. Instead, I focus on

 creating a business plan to raise capital and improve shareholder equity.

       21.    I also do not control the financials for EMERGE, FCID, FCMG, or

 FCHS. The CFO manages the bank accounts. I do not manage any of the finances

 as far as moving or transferring money.

       22.    I do not maintain the payables and I do not make decisions on what

 gets paid.

       23.    As CEO of FIRST CHOICE HEALTHCARE SOLUTIONS, INC.

 (“FCHS”), my specific duties are to raise capital, reorganize the company, and

 resurrect operations. To that end, my goal is to list FCHS on a fully reporting

 nationally-listed exchange, acquire businesses that would help shareholder value,

 and try to move FCHS forward.

       24.    My job is to work with investors to obtain funding.

       25.    With respect to FCID MEDICAL, INC. (“FCID”), I do not handle any

 of the financial aspects of the corporation and I do not have knowledge about how




                                              3
Case 6:23-cv-00581-RMN     Document 50-1       Filed 06/10/24   Page 4 of 13 PageID 1320




 revenue is booked, where it is sent, or how it is collected. Likewise, I do not make

 determinations as to who is being paid out of what.

       26.   To the best of my knowledge, EMERGE HEALTHCARE GROUP, LLC

 (“EMERGE”) has no bank account, has no operations, and has no assets. It was

 intended to be used as a trade name for marketing purposes and to get away from

 the bankruptcy and the criminal conduct of Christian Romandetti, who was the

 prior founder, CEO, and principal shareholder of FCHS.

       27.   As either the CEO or Manager of EMERGE, FCID, FCMG, and FCHS,

 I ultimately have the ability to hire and fire employees and ultimately set employee

 schedules. However, I was involved only in the hiring of the surgical practice

 physicians and other physicians.     These physicians were recruited through a

 recruiter and then came in for interviews. These physicians were hired by a

 consensus of a leadership team that existed before I came onboard. I was part of

 that leadership team.

       28.   I was not involved in the hiring or firing of any other employee.

       29.   I did not supervise Plaintiff or control Plaintiff’s work schedule or

 conditions of employment.

       30.   I did not determine the rate or method of payment for Plaintiff.

       31.   I did not maintain employment records for Plaintiff.

       32.    The employees of FCMG and FCID who were not paid their wages

 were not paid because there were no revenues to support operations and investor

 capital was not adequate or was not timely to continue regular payrolls.

                                           4
Case 6:23-cv-00581-RMN     Document 50-1       Filed 06/10/24   Page 5 of 13 PageID 1321




       33.   I have never dealt with the insurance companies Florida Blue or

 UnitedHealthcare.

       I declare under penalty of perjury under the laws of the United States of

 America and the State of Florida that the foregoing is true and correct.

       Executed on November 1          , 2023.



                                                ________________________
                                                Lance Friedman




                                           5
Case 6:23-cv-00581-RMN   Document 50-1   Filed 06/10/24   Page 6 of 13 PageID 1322




                              Exhibit A
Case 6:23-cv-00581-RMN        Document 50-1     Filed 06/10/24    Page 7 of 13 PageID 1323




                                     ORDERED.
  Dated: June 19, 2020




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION
                                 www.flmb.uscourts.gov

 In re:                                        Case No.: 6:20-bk-3355-LVV
 First Choice Healthcare Solutions, Inc.       Chapter 11
        Debtor.
 ___________________________________/
 In re:                                        Case No.: 6:20-bk-3356-LVV
 First Choice Medical Group of Brevard, LLC    Chapter 11
        Debtor.
 ___________________________________/

 In re:                                        Case No.: 6:20-bk-3357-LVV
 FCID Medical, Inc.                            Chapter 11
        Debtor.
 ___________________________________/

 In re:                                        Case No.: 6:20-bk-3359-LVV
 Marina Towers, LLC,                           Chapter 11
        Debtor.
 ___________________________________/


                   ORDER AUTHORIZING JOINT ADMINISTRATION
              PURSUANT TO BANKRUPTCY RULE 1015 AND LOCAL RULE 1015

          THIS CASE came on for hearing on June 17, 2020 on the Debtors’ Motion for Order

 Authorizing Joint Administration Pursuant to Bankruptcy Rule 1015 and Local Rule 1015 (Doc.



 53548565;3
Case 6:23-cv-00581-RMN          Document 50-1         Filed 06/10/24    Page 8 of 13 PageID 1324




 No. 3) in the above styled and numbered chapter 11 cases seeking joint administration of such

 cases (“Motions”).

          The Court finds that notice was proper and that no party in interest made any response in

 opposition to the Motions or, if so, the relief requested in any such response was denied for the

 reasons stated on the record, and further finds that the relief requested in the Motions should be

 granted. Accordingly, it is hereby

          ORDERED:

          1.     The Motion is GRANTED.

          2.     The chapter 11 cases of First Choice Healthcare Solutions, Inc., First Choice

 Medical Group of Brevard, LLC, FCID Medical, Inc., and Marina Towers, LLC shall be jointly

 administered in accordance with the terms of this Order.

          3.     Nothing contained in this Order shall be construed as directing or otherwise

 effecting a substantive consolidation of the bankruptcy cases of the Debtors; it is the Court’s

 intention to jointly administer the bankruptcy cases of the Debtors for procedural purposes only.

          4.     First Choice Healthcare Solutions, Inc., First Choice Medical Group of Brevard,

 LLC, FCID Medical, Inc., and Marina Towers, LLC are to be jointly administered under Case

 No. 20-bk-3355-LVV.

          5.     Judge Lori V. Vaughan shall preside over these jointly administered cases.

          6.     The joint caption of the First Choice Healthcare Solutions, Inc., First Choice

 Medical Group of Brevard, LLC, FCID Medical, Inc., and Marina Towers, LLC cases shall read

 as shown in attached Exhibit A.

          7.     All original pleadings shall be captioned as set out above and all original docket

 entries shall be made in the case of First Choice Healthcare Solutions, Inc., Case No.



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 53548565;3
Case 6:23-cv-00581-RMN          Document 50-1        Filed 06/10/24     Page 9 of 13 PageID 1325




 6:20-bk-3355-LVV. In the instance where the relief requested in a pleading pertains to a specific

 Debtor or Debtors, the title as well as the first paragraph of the pleading or order shall indicate

 the specific Debtor or Debtors.

          8.    All proofs of claim shall be filed under the case number representing the Debtor’s

 estate against which the claim is made.

          9.    Each of the Debtors shall (a) file separate monthly operating reports; (b) maintain

 separate financial accounts and records; (c) not be liable for the claims against any of the other

 Debtors by virtue of this Order; and (d) file separate Bankruptcy Schedules and Statements of

 Financial Affairs.

          10.   A docket entry shall be made in each of the Debtors’ cases substantially as

 follows: An order has been entered in this case directing the joint administrative of the chapter

 11 cases of First Choice Healthcare Solutions, Inc., First Choice Medical Group of Brevard,

 LLC, FCID Medical, Inc., and Marina Towers, LLC.; the docket in the chapter 11 case of First

 Choice Healthcare Solutions, Inc., Case No. 6:20-bk-3355-LVV should be consulted for all

 matters affecting this case.

          11.   Debtors shall file a master service list in First Choice Health Care Solutions, Inc.

 Case No. 6:20-bk-3355-LVV which includes all creditors, persons filing Notices of

 Appearances, and all parties-in-interest in all the debtor’s jointly administered cases for future

 noticing requirements.

          12.   This order shall be served by the Debtors on interested parties and all parties

 included on the master service list.

 [Attorney Esther McKean, Esq. is directed to serve a copy of this order on interested parties who
 do not receive service by CM/ECF and file a proof of service within three days of entry of the
 order.]



                                                 3
 53548565;3
Case 6:23-cv-00581-RMN          Document 50-1       Filed 06/10/24     Page 10 of 13 PageID 1326




                                     EXHIBIT A
                         JOINTLY ADMINISTERED CASES CAPTION




                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION
                                   www.flmb.uscourts.gov

  In re:                                            Case No.: 6:20-bk-3355-LVV
                                                    Chapter 11
  First Choice Healthcare Solutions, Inc. et, al.
                                                    (Jointly Administered)
       Debtors.
  ___________________________________/




  53548565;3
Case 6:23-cv-00581-RMN   Document 50-1   Filed 06/10/24   Page 11 of 13 PageID 1327




                               Exhibit B
Case 6:23-cv-00581-RMN               Document 50-1           Filed 06/10/24         Page 12 of 13 PageID 1328




                                                    ORDERED.


      Dated: April 27, 2022




                                   UNITED STATES BANKRUPTCY COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                          ORLANDO DIVISION
                                          www.flmb.uscourts.gov

       In re                                                   )
                                                               )       Case No. 6:20-bk-03355-GER
       First Choice Healthcare Solutions, Inc., et al.,        )       Chapter 11
                                                               )       Subchapter V
                        Debtors.                               )       Jointly Administered1
                                                               )


                                                FINAL DECREE

               This case came on for a hearing on April 27, 2022 at 10:00 a.m. upon the Motion for Entry

  of Final Decree and Certificate of Substantial Consummation (Doc. No. 488), as Amended2 (Doc.

  No. 500), and Supplement to Amended Motion for Final Decree and Certificate of Substantial

  Consummation (Doc. No. 516) filed by the Debtors; the Objection to Motion for Entry of Final

  Decree and Certificate of Substantial Consummation (Doc. No. 494) filed by GMR Melbourne,

  LLC; and the Stipulated Facts for Trial on April 27, 2022 (Doc. No. 545). The Court finds that the

  Debtors’ confirmed plan of reorganization has been substantially consummated. For this and the

  reasons stated in open court, it is



  1
    Jointly administered cases: In re First Choice Healthcare Solutions, Inc., Case No. 6:20-bk-03355-GER; In re First
  Choice Medical Group of Brevard, LLC, Case No. 6:20-bk-03356-GER; In re FCID Medical, Inc., Case No. 6:20-bk-
  03357-GER; and In re Marina Towers, LLC, Case No. 6:20-bk-03359-GER.
  2
    Amended Motion for Entry of Final Decree and Certificate of Substantial Consummation (Doc. No. 500).
Case 6:23-cv-00581-RMN                Document 50-1          Filed 06/10/24        Page 13 of 13 PageID 1329




             ORDERED:

             1.      The Motion for Entry of Final Decree and Certificate of Substantial Consummation

  (Doc. No. 488), as Amended3 (Doc. No. 500), is GRANTED, subject to the terms of this Order.

             2.      The Debtors must pay or otherwise satisfy any outstanding balance due to Akerman

  LLP by May 6, 2022, or such other date that Akerman LLP agrees in writing.

             3.      The Court reserves jurisdiction to hear matters related to any default of the Debtors

  with respect to their payment obligations to Akerman LLP.

             4.      All motions/objections/applications that have not been resolved are DENIED AS

  MOOT.

             5.      This case and the jointly administered cases are CLOSED.

             6.      Pursuant to Local Rule 9070-1(c)(3), the Clerk shall, without further notice, dispose

  of any paper exhibits submitted in this case or any related adversary proceedings unless they are

  reclaimed by the appropriate party within 30 days.

             7.      The Clerk is directed to file a copy of this Order in the jointly administered cases.

                                                         ###

  The Clerk is directed to serve a copy of this Order on all interested parties.




  3
      Amended Motion for Entry of Final Decree and Certificate of Substantial Consummation (Doc. No. 500).
